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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

             Plaintiffs,

       v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN                 CASE NO. 1:20-CV-484-LO-TCB
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,

             Defendants.


       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
      SUPPLEMENTARY RELIEF PURSUANT TO LOCAL RULE 37(D) AND THE
               COURT’S 2020 AND 2021 DISCOVERY ORDERS
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         Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. respectfully submit that

  Defendants WDC Holdings LLC and Brian Watson have again “fail[ed] to comply” with the

  Court’s discovery orders, and bring this “non-compliance before the Court” for supplementary

  relief under applicable federal and local rules. L. Civ. R. 37(D); Fed. R. Civ. P. 37.

                                          INTRODUCTION

         Defendants continue to violate three separate discovery orders requiring them to answer

  requests about asset information they raised in defying the judgment security provisions of the

  Court’s June 2020 injunction. Dkts. 95, 231, 301–02.1 The latest discovery order, entered on July

  9, 2021, required them to “completely and fully re-answer interrogatories 2, 3, 5, and 6 and identify

  Bates numbers of relevant documents … within ten (10) days.” Dkts. 301–02. Defendants still

  have not done so. They recently produced approximately 97% of the documents from their

  deficient privilege log,2 but have not “completely and fully re-answer[ed]” the interrogatories or

  kept their promise to produce on August 16 responsive financial information they admit should

  have been served months ago. Id.

         The missing information goes to the heart of the discovery the Court has repeatedly

  ordered. Dkts. 95, 231, 302. Specifically, it violates the Court’s July 9 directive that Defendants

  “account for all” of the $140 million in post-injunction asset dispositions covered by Interrogatory

  2 and “explain where the money went,” as well as “completely re-answer Interrogatories 3, 5 and

  6” regarding Defendants’ proceeds from the transactions at issue in this suit, how they were shared,

  and which “investor interests” allegedly rendered Defendants “unable to pledge” even a penny to


  1
     The Court first ordered Defendants to answer these requests in July 2020. Dkt. 95. They
  objected. In November 2020, the Court overruled the objections except for privilege and directed
  the requests to “be answered” as written. Dkts. 231, 286-1 at 12:7–10. Defendants did not comply.
  2
    Following in camera review, the Court found privilege on 20 documents Plaintiffs submitted as
  a sample from the remaining 3%—approximately 14 of 432 pages—of Defendants’ log. Dkt. 304.
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  comply with the Court’s injunction. Ex. 13 at 25:2–14. The prejudice of these discovery violations

  is most obvious with respect to over $13 million in undistributed cash proceeds from the sale of a

  $24 million asset (800 Hoyt) that Defendants concealed until the Court’s July 9 order compelling

  its production. Defendants admitted on July 19 that these proceeds are still “pending distribution,”

  but refused to provide the information Interrogatories 2 and 6 require about who holds the funds

  and why they cannot be used to comply with the Court’s orders. Defendants promised that they

  would provide “by COB on Monday, August 16” relevant details about these funds, which they

  admit are slated for dissipation in September at the discretion of a manager who succeeded

  Defendant Watson and is affiliated with Defendant Northstar. But on August 16 they broke this

  promise and failed even to provide the Hoyt settlement statement they said they would produce

  that day, and admit should have been produced months ago.

           This record confirms all the grounds for injunction enforcement that Plaintiffs will pursue

  in separate filings as the Court suggested on July 9. Ex. 1 at 11, 26. But Plaintiffs respectfully

  submit that Defendants’ violations of the Court’s July 9 discovery order also warrant the

  independent Rule 37 relief addressed herein, which could materially advance the enforcement

  proceedings and progress of this case. See, e.g., Dkt. 284 (citing authorities).

                                           BACKGROUND

           On July 19, Defendants served “Second Supplemental Answers” to Plaintiffs’ discovery

  requests. Exs. 2, 3. But these supplements did not “completely and fully” answer Interrogatories

  2, 3, 5 and 6 as ordered on July 9. Dkt. 302; see also Dkts. 193, 231. Plaintiffs identified material

  deficiencies within 24 hours, Ex. 4, and repeatedly conferred with Defendants in a good faith effort




  3
      All “Ex.” cites are to the Declaration of Todd W. Shaw, filed concurrently herewith.


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  to resolve them, to no avail. Exs. 4, 8, 9. Between July 224 and July 27, Defendants served Third

  Supplemental Answers and an email with some further information on Requests 2, 3, and 6, but

  refused to supplement their response to Request 5 or provide responsive information from a

  Colorado court proceeding (Richards) in which they litigated relevant financial issues and paid a

  settlement to former Northstar employee, Josh Richards.5 Exs. 6, 7. The prejudice in Defendants’

  refusal to provide the Richards documents is evident from




                                                                         Ex. 16 at 3.

          Plaintiffs promptly requested a Rule 37 conference on these and other deficiencies in

  Defendants’ Third Supplemental Answers. That conference, which Defendants deferred until July

  30, focused on the Richards documents and Defendants’ failure to produce information about asset

  sale proceeds including the $13 million in undistributed Hoyt proceeds the Court ordered them to

  address “completely” on July 19. Dkt. 302. Defendants promised to “provide a supplemental

  interrogatory response” on at least the $13 million, and to provide “an email update by mid-

  morning Wednesday, August 3, regarding what will be necessary to produce” documents from

  Richards. Ex. 7. Defendants did not provide this information on August 3, but on August 5 sent

  an email saying they would produce at least some Richards documents, and “should be able to


  4
    Defendants deferred the parties’ first conference until July 22, and even then were not prepared
  to address the deficiencies Plaintiffs identified in writing on July 20.
  5
      See Richards v. WDC Holdings LLC, No. 2019-cv-34472 (Colo. Dist. Ct.) (settled 5/3/2021).


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  provide complete detail” on the Hoyt proceeds, by “COB on Monday, August 16.” Ex. 7.

         Defendants did neither. In an email sent at 6:51 p.m. on August 16, they improperly

  conditioned production of their own documents from Richards on the protective order in that case,

  Ex. 15, and “[w]ith regard to the Hoyt documents” stated only that:

         [W]e are making the Settlement statement available today. There are a handful of
         other documents that relate to that matter but we have to give notice to some other
         parties to give them an opportunity to object or not which could take a few days.

  Ex. 14. Defendants did not specify what they meant by “a few days,” nor did they produce the

  promised settlement statement from the 800 Hoyt transaction. Further, and critically, they did not

  use the referenced documents or other information to supplement their sworn responses to

  Interrogatories 2 and 6 in compliance with this Court’s orders.

  I.     DEFENDANTS’ NON-COMPLIANT RESPONSES

         Defendants still have not “completely and fully re-answered” the discovery requests the

  Court ordered on July 9. Notably:

            Interrogatory 2 – Defendants still have not identified disposition details or supporting
             Bates numbers for seven asset sales totaling $82.3 million, including the sale of the
             Hoyt property that will result in $13 million in disbursements in September, nor have
             they provided relevant financial documents from the Richards case;6

            Interrogatory 3 – Defendants still have not “detail[ed] the amount(s)” of money they
             distributed from Plaintiffs’ transactions, including what “portion” of the
             “approximately $14,609,925” in Lease Transaction proceeds was “distributed to Brian
             Watson,” nor have they supported their statement that neither these nor any substitute
             funds “are available to comply with the [Court’s] $21 million escrow requirement”;

            Interrogatory 5 – Defendants still do not identify whether and when they knew that
             their transactions with Amazon would result in kickbacks, “shares,” or other financial
             benefits to their co-defendants, and refuse to supplement their response or produce
             relevant documents from their litigation with Richards,
                                                                    (Ex. 16 at 3);



  6
    Pinnacle ($37,675,250); 800 Hoyt ($24,075,000); Mountain Vista ($17,400,000); Wadsworth
  (foreclosure); Dabling Land ($720,000); E. Colfax ($1,400,000); Airplane ($1,050,000). Ex. 3.

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             Interrogatory 6 – Defendants still do not say which of the hundreds of investors listed
              in their response rendered Defendants “unable to pledge” or otherwise leverage assets
              they have now sold for over $140 million, or how much of the sale proceeds flowed to
              specific “investors” including Defendants and their affiliates.

         A.      Interrogatory 2 (asset dispositions)

         Defendants’ responses through August 5 still do not “completely and fully re-answer”

  Interrogatory 2 as written, Dkts. 302; Dkts. 231, 286-1 at 12:7–10, or “identify Bates numbers of

  relevant documents” as ordered on July 9. Dkt. 302. Defendants’ July 19 responses: (i) raised

  generalized objections in violation of the Court’s rulings that such objections “were gone,” Dkt.

  302; Ex. 1 at 13:5–6; (ii) addressed only asset “sales,” rather than the “transfer[s] or other

  dispositions” expressly requested; (iii) failed to identify Bates numbers for seven sales totaling

  $82.3 million, see supra n.6; and (iv) otherwise failed to provide the requested “details of and

  reasons for” each listed “transfer or disposition,” including the identity of paid “[l]enders,”

  “[i]nvestors,” and other transaction beneficiaries, “as well as the current or last known location of

  the asset(s) or interest(s)” disposed. Exs. 2, 3.

         Plaintiffs raised these specific deficiencies on July 20, Ex. 4, and at the parties’ July 22

  conference Defendants admitted they could not identify Bates numbers because they had never

  produced settlement statements or other documents responsive to the request. Ex. 8. Their

  statement that this “may” have been an “oversight” does not excuse these violations. Accordingly

  they agreed to provide certain unproduced sales documents, further written responses, and a

  position on Richards documents by July 27. See Ex. 5. But these supplements also failed to

  “completely and fully re-answer” (or provide “Bates numbers”) on Interrogatory 2. Ex. 6.

         On July 30, Plaintiffs stated by teleconference and email that Defendants’ July 27

  supplement still: (i) failed to identify the amount of Defendants’ share in each asset sale disclosed




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  statement” they said they were “making … available” and admitted they should have produced

  months ago. Ex. 14. Defendants based this stonewalling on the purported need to “give notice to

  some other parties to give them an opportunity to object or not, which could take a few days.” Id.

  But they refused Plaintiffs’ request to substantiate this assertion, which confirms their improper

  withholding of responsive information about assets at risk of dissipation in the coming weeks.

         Accordingly, nearly a month after the Court’s July 19 deadline—and more than a year of

  violating three separate discovery orders, two injunctions, multiple federal rules, and their own

  production promises, Dkts. 193, 231, 301–02—Defendants’ response to Interrogatory 2 still does

  not “account for all” their ongoing asset dispositions, or “explain where the money went” from

  over a $140 million in post-injunction asset sales. Ex. 1 at 25:2–14.

         B.      Interrogatory 3 (proceeds from transactions in suit).

         Defendants’ July 19 response also did not comply with the Court’s July 9 Order to

  “completely and fully re-answer” this interrogatory and “identify Bates numbers of relevant

  documents.” Dkt. 302. The July 19 response admitted—contrary to Defendants’ representations

  to the Court and Plaintiffs for over a year, e.g., Dkt. 193-2 at 18:25–19:1—that Defendants

  “received approximately $14,609,925 in relation to [Plaintiffs’] Lease Transactions” in addition

  to the “$5,000,000” Defendants received as a result of Plaintiffs’ “White Peaks Purchase” from

  two former Northstar employees named as co-defendants in this action. Ex. 2 at 3–4. But it

  improperly raised unspecified privileges and failed to “detail the amount(s)” distributed on

  Plaintiffs’ transactions, including what “portion” of the “approximately $14,609,925” was

  “distributed to Brian Watson.” Ex. 4 at 4 (quotation marks omitted).

         Defendants’ July 27 supplement does not address these deficiencies. Ex. 6. Instead, it

  asserts—without support—that the “monies received by Defendants from the Lease Transactions,

  and the $5 million received from the settlement related to the White Peaks Purchase, were used


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  qualifies even this deficient response as disclaiming knowledge of kickbacks “apart from

  Plaintiffs’ allegations,” which it then disclaims as “unsubstantiated” because “Defendants have

  received no discovery.” Ex. 2 at 4 (emphasis added). This response exemplifies Defendants’ bad

  faith approach to the requests and this Court’s orders. As Defendants are well aware, Plaintiffs’

  kickback allegations are “substantiated” by evidence (including audio transcripts and bank and

  business records) that Plaintiffs already produced—and this Court credited—in the injunction

  record. E.g., Dkts. 12-7, 12-9, 12-29, 12-23, 12-24, 42-2.

         Further, Defendants’ knowledge of kickback information is not limited to “Plaintiffs’

  allegations.” It is documented in their own pleadings—including recent filings in the Delaware

  case they filed as a collateral attack on this Court’s injunction and Rule 12 decisions. Ex. 12. In

  addition to misrepresenting this Court’s rulings, see id. at 13–14, their most recent Delaware

  pleading affirmatively states that Watson “sought assurances . . . that none of the fees” he and

  Northstar paid to his Amazon contact’s brother (Christian Kirschner) “would benefit [his contact]

  Casey [Kirschner]”—or “anyone other than Christian’s immediate family for that matter—while

  Casey was employed by Amazon.” Id. at 4 (emphasis added). Defendants’ pleading further

  concedes that “Northstar’s COO” (                ) knew or had reason to believe this arrangement

  was used to funnel kickbacks to former Amazon personnel. Id. at 9–10. Accordingly, Defendants’

  knowledge of these kickback facts—which they assert in Delaware through the same law firm

  (Brownstein Hyatt) that represents them here—goes well beyond “Plaintiffs’ allegations,” and

  should have been disclosed in their interrogatory responses. Nevertheless, on July 28, they refused

  to provide any “amendment or supplement to their answers to Interrogatory No. 5.” Ex. 7.

         D.      Interrogatory 6 (investor interests impeding judgment security)

         Defendants’ response to Interrogatory 6 also remains critically deficient in violation of the




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  Court’s orders. The interrogatory requires Defendants to “describe in detail” specified investor

  interests, including “all the investors You contend are ‘involved in Your real estate ventures’ and

  rendered you ‘unable to pledge those assets’ in any form as judgment security in this Action.” Ex.

  2 at 5. Defendants’ July 19 response identified a laundry list of investors in various properties,

  including those Defendants recently sold for a total of over $140 million. Exs. 2, 3. But the

  response does not say which of these investors rendered Defendants “unable to pledge,” or

  otherwise leverage, the referenced assets to comply with the Court’s injunction, or even what

  portion of the proceeds different “investors” received from the post-injunction asset sales that

  generated tens of millions in cash. For example, the response lists over 60 investors in the $37

  million Pinnacle sale, over 50 investors in the $24 million Hoyt sale, over 40 investors in the $24

  million Stapleton sale, and over 50 investors in the $17 million Mountain Vista sale. Ex. 2 at 5–

  15. But it is impossible to tell what interest each of these investors had in the assets, much less

  how they allegedly rendered Defendants “unable to pledge” or secure their own shares.

          This discovery deficiency is highly prejudicial for many reasons, most notably because

  Defendants’ list of “investors” includes Defendants and their affiliates, but does not (alone or in

  conjunction with their response to Interrogatory 2) disclose what they did with their cash proceeds

  from the assets that were “unencumbered” and sold. For example, their response admits that

  “Brian Watson” was a direct investor in various properties, as well as a “manager” that had broad

  “discretion” under property Operating Agreements to pay various and unspecified “fees” to

  Northstar. Ex. 6 at 2–3. And the response’s list of “investors” includes several of Defendants’

  affiliates, notably “BW [Brian Watson] Holdings” in Littleton Colorado, Ex. 2 at 9, as well as

  other entities that Watson admits he “set up” and lists as sharing BW Holding’s Littleton address.8


  8
      See Ex. 6 at 2 (identifying PLW Capital LLC, PLW Capital I LLC, PLW Mineral LLC).


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  The response also names several entities—notably various “JM Capital” LLCs—registered to

  Northstar personnel including Donald J. Marcotte,



                                    . Ex. 13. Indeed, Defendants admit that Marcotte has now

  succeeded Watson as the “manager” who “controls” the $13 million in Hoyt sale proceeds the

  Court ordered Defendants to address on July 9, and they have since said they do not “control” and

  may be dissipated through payments to investors—including “BW Holdings”—in September.

         In sum, Defendants’ supplemental responses to Interrogatory 6 frustrate, rather than

  comply with, the Court’s repeated orders to answer this and related requests “fully and completely”

  as required to “explain where the money went” from Plaintiffs’ transactions and the $140 million

  in asset sales Defendants have orchestrated while defying the Court’s injunction. The July 27

  supplement simply states that “[e]very investor involved in Defendants’ real estate ventures was

  paid, pursuant to contract, monies they were legally entitled to receive,” and “Defendants have no

  ability to pledge assets that are legally contracted to be paid to other third parties.” Ex. 6 at 4.

  This response does not answer the request because it does not even attempt to show which proceeds

  were paid to which “third parties,” when the payments were made, and under which contracts,

  much less how any such payments rendered Defendants “unable” to satisfy a penny of their

  obligations to this Court. Further, the response inexcusably fails to provide this accounting

  information for proceeds paid to Defendants and their affiliates during the injunction period based

  on distributions that Watson and other Northstar personnel (including current Hoyt manager Don

  Marcotte) had “discretion” to determine. See supra n.7.

  II.    RELIEF REQUESTED

         The Court’s July ruling is the third discovery order Defendants have violated in an effort

  to conceal information about assets they say are still not available to comply with the injunction


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  despite $140 million in liquidations.       These discovery violations warrant Rule 37 relief

  independent of injunction enforcement, which Defendants’ latest responses are clearly designed

  to frustrate. Defendants’ productions to date foreclose the original injunction defenses the

  discovery was ordered to address. Dkt. 283. But Defendants still insist they are “unable” to post

  a penny of the security the Court ordered because they “do not have the funds” and are “unable to

  post [a] $21 million bond.” Ex. 7. Instead of addressing this unsubstantiated position, Defendants

  have used the period since the Court’s July 9 Order to raise new roadblocks to the enforcement

  proceedings the Court referenced. These abuses have made a mockery of the Court’s orders and

  discovery accommodations, and warrant immediate Rule 37 relief that this Court has “nearly

  unfettered discretion” to impose. Hinkle v. City of Clarksburg, 81 F.3d 416, 426 (4th Cir. 1996).

  That relief encompasses all of the remedies addressed in Plaintiffs’ June 2 motion, Dkt. 283, and

  at this juncture supports at least the following remedies.

         First, the Court should preclude Defendants from introducing in this action documents or

  information that they have not produced in compliance with the Court’s mandate to “completely

  and fully” answer Plaintiffs’ discovery requests. Such relief is the proper remedy for Defendants’

  decision not to “account for all” of their assets or “explain where the money went” from over $140

  million in asset sales they used to pay themselves and virtually every financial obligation they

  owed except the one to this Court. Dkt; 302; Ex. 1 at 25:2-14; Baker v. Curtis W. Key Plumbing

  Contractors, Inc., 2016 WL 11672046, at *9 (E.D. Va. Dec. 8, 2016) (barring reliance on evidence

  defendants failed “to timely search for and produce in discovery”); Thomas v. FTS USA, LLC,

  2016 WL 3566657, at *4 (E.D. Va. June 24, 2016) (similar). As a result of these violations, their

  assets remain a “moving target” after two injunctions, three discovery orders, over $140 million

  in sales, and months of litigation. Certain Underwriters at Lloyd’s v. AdvanFort Co., 2019 WL




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  3366103, at *8 (E.D. Va. July 25, 2019). Here, as in Baker, the proper Rule 37 remedy for these

  violations is to bar Defendants from relying on responsive information that they failed “to timely

  search for and produce in discovery.” 2016 WL 11672046, at *9.9

         This Court has held that this remedy is particularly appropriate where discovery violations

  have “made recovery of the monies sought in [a] complaint significantly more difficult.” Axiom

  Res. Mgmt. Inc. v. Alfotech Sols., LLC, 2011 WL 2560096, at *5 (E.D. Va. June 3, 2011), adopted

  by 2011 WL 2559806 (E.D. Va. June 27, 2011). That is exactly what Defendants have done before

  and since the July 9 order. They admitted earlier this month that the $13 million in undistributed

  Hoyt proceeds the Court forced them to identify in July is slated for September distribution to a

  vast web of LLCs and other “investors” at the “discretion” of a Northstar-affiliated “manager”

  (Watson’s successor and personal lender, Don Marcotte).            They then promised to provide

  “complete” details about these funds on August 16 so Plaintiffs could pursue these assets,

  including through cease and desist requests. But as usual they broke their promise, and are still

  withholding even the settlement statement from the December 2020 sale. Further prolonging the

  discovery period will simply reward these “bad faith” discovery abuses, and all but guarantee that

  Defendants’ “only remaining asset[s]” will continue to disappear. Id.

         Second, and particularly if the Court concludes that the Rule 37 relief above is not

  warranted unless Defendants have yet another (presumably final) opportunity to comply with the

  Court’s discovery orders, Plaintiffs respectfully request at least the following relief:


  9
     This discovery relief is evidentiary and distinct from the request to “overrule” the specific legal
  “defenses” that Plaintiffs requested in their June 2 filing. Dkt. 284 at 3. Based on the Court’s
  direction at the July 9 hearing, Plaintiffs will pursue this legal preclusion, which is more akin to a
  default judgment, in a separate motion to enforce the injunction. See, e.g., Anderson v.
  Advancement, Etc., of Am. Indians, 155 F.3d 500, 502 (4th Cir. 1998) (affirming Rule 37(b)
  default judgment where defendant “was extremely dilatory in responding to both interrogatories
  and requests for documents” during merits discovery).


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          Supplemental Responses – Compel Defendants to produce within 11 days:

                    i.   all responsive documents Defendants produced in Richards, whose protective
                         order does not prevent Defendants from producing their own documents in this
                         case with designations under this Court’s protective order, Dkt. 15;10

                   ii.   further supplemental responses, separately submitted and signed by each
                         Defendant, to Interrogatories 2, 3, 5 and 6 detailing the specific amounts that
                         Defendants and other Interrogatory 6 “investors” received from the sale
                         proceeds in Interrogatory 2 Exhibit A; what Defendants did with their share of
                         these payments; the specific amount of the Lease Transaction proceeds
                         Northstar paid to Brian Watson; unqualified answers to Interrogatory 5; and
                         details on the unspecified expenditures that Defendants say have rendered them
                         “unable” to post a penny of judgment security despite their liquidation of over
                         $140 million in assets that generated cash payments they controlled; and

                  iii.   supporting documentation for all of the foregoing responses including all
                         documents relating to the 800 Hoyt sale, subject to the Rule 37 bar above or
                         daily Court fines and other sanctions, including but not limited to confirmatory
                         searches or special master oversight at Defendants’ expense.

          Rule 45 Discovery – Authorize immediate Rule 45 discovery—at Defendants’ expense
           because the burden on the third parties is the direct result of Defendants’ violation of their
           Rule 26, 33, and 34 obligations in this action—to:

             i.      the “third parties” that Defendants now say are in “control[]” of various (and still
                     unspecified) cash shares and proceeds from Defendants’ recent assets sales,
                     including Donald J. Marcotte, 800 Hoyt LLC, BW Holdings LLC, JM Capital LLC,
                     and PLW Capital LLC, PLW Capital I LLC, PLW Mineral LLC; and

            ii.      The Richards plaintiff, whose counsel has expressed willingness to cooperate with
                     the discovery requests in this matter.

           The foregoing remedies are the minimum relief appropriate for Defendants’ discovery

  abuses, which far exceed this Court’s standards for finding “bad faith” under Rule 37 for the

  reasons Plaintiffs briefed in June. See Dkt. 283; Cappetta v. GC Servs. Ltd. P’ship, 2008 WL

  5377934, at *6 (E.D. Va. Dec. 24, 2008) (finding bad faith where defendants “failed to answer




  10
     To the extent Defendants are in possession of responsive documents from the Richards litigation
  designated confidential by the plaintiff in that case, the Richards protective order expressly permits
  the disclosure of such documents with the consent of designating plaintiff’s consent. Ex. 15.


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  some of the discovery and . . . provided what appears to be evasive or incomplete answers to many

  questions or requests”); Anderson v. Sch. Bd. of Gloucester Cty., 2021 WL 1134788, at *12–13

  (E.D. Va. Mar. 24, 2021) (“Bad faith may [also] be established by ‘noncompliance [or] haphazard

  compliance [with] discovery orders,’” (quoting circuit authorities), or a “party’s failure to provide

  a satisfactory reason why its discovery responses were not timely”) (quotation marks omitted).

         Since the July order, Defendants have “willfully” withheld “knowledge” and “fail[ed] to

  disclose” information in violation of this Court’s orders. Beach Mart, Inc. v. L&L Wings, Inc., 784

  F. App’x at 118, 122–23 (4th Cir. 2019). Like the Rule 37 defendant in Lloyd’s, “[e]ven when

  given a third chance to submit proper answers, [they] still equivocated in many of [their]

  responses.” Lloyd’s, 2019 WL 3366103, at * 8. And like the defendant in Flame, Defendants

  remain “non-complian[t]” and committed to “‘stonewalling” despite “extensive” “discovery

  disputes” and multiple Court orders. Flame S.A. v. Indus. Carriers, Inc., 2014 WL 3895933, at

  *12 (E.D. Va. Aug. 8, 2014), objections overruled, 39 F. Supp. 3d 752 (E.D. Va. 2014), aff’d sub

  nom. Flame S.A. v. Freight Bulk Pte. Ltd., 807 F.3d 572 (4th Cir. 2015). Relief is warranted.

                                           CONCLUSION

         For the reasons above and in Plaintiffs’ June 2, 2021 motion, Plaintiffs respectfully

  request supplementary relief for Defendants’ continuing violations of the Court’s July 9 order.




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  Dated: August 17, 2021       Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

           I hereby certify that on August 17, 2021, I will electronically file the foregoing with the

  Clerk of Court using the CM/ECF system. I will then send the document and a notification of such

  filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

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